887 F.2d 1095
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.LOUISIANA-PACIFIC CORPORATION, Plaintiff-Appellant,v.The UNITED STATES, Defendant-Appellee.
    No. 89-1168.
    United States Court of Appeals, Federal Circuit.
    Sept. 20, 1989.
    
      Before PAULINE NEWMAN, Circuit Judge, SKELTON, Senior Circuit Judge, and ARCHER, Circuit Judge.
      PER CURIAM.
    
    
      1
      The judgment is affirmed, on the basis of the opinion of the United States Claims Court.    Louisiana-Pacific Corp. v. United States, 15 Cl.Ct. 413 (1988).
    
    